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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

 NATIONAL ASSOCIATION FOR GUN RIGHTS,                    )
 and TONI THERESA SPERA FLANIGAN                         )
       Plaintiffs,                                       )
                                                         )
 v.                                                      )         Civil Action No.
                                                         )       3:22 CV 1118 (JBA)
 NED LAMONT, is his official capacity as the             )
 Governor of the State of Connecticut;                   )
 PATRICK J. GRIFFIN, is his official capacity as the     )
 Chief State’s Attorney of the State of Connecticut;     )
 and SHARMESE L. WALCOTT, in her official                )
 capacity as the State’s Attorney, Hartford Judicial     )
 District,                                               )
         Defendants.                                     )        November 3, 2022
                                                         )


              PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Fed.R.Civ.P. 65, the Plaintiffs, NATIONAL ASSOCIATION FOR

GUN RIGHTS, and TONI THERESA SPERA FLANIGAN, now move for the entry of a

preliminary injunction against the Defendants, NED LAMONT, is his official capacity as

the Governor of the State of Connecticut, PATRICK J. GRIFFIN, is his official capacity

as the Chief State’s Attorney of the State of Connecticut, and SHARMESE L.

WALCOTT, in her official capacity as the State’s Attorney, Hartford Judicial District,

(collectively, the “State”) prohibiting the enforcement of CONN. GEN. Stat. § 53-202c(a)

and CONN. GEN. STAT. § 53-202w(b) and (c) (collectively, the “Statutes”) because these

statutes are unconstitutional.

       The Statutes purport to ban (1) certain semi-automatic firearms that are held by

millions of law-abiding American citizens for lawful purposes and (2) certain firearm

magazines that are held by millions of law-abiding American citizens for lawful



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purposes. The Second Amendment protects the right of law-abiding citizens to own

weapons in common use by law-abiding citizens for lawful purposes. D.C. v. Heller,

554 U.S. 570, 627 (2008). Thus, these provisions of the Statutes are unconstitutional.

Accordingly, Plaintiffs hereby move the Court to enter a preliminary injunction enjoying

the State from enforcing these unconstitutional provisions of the Statutes.

       Consistent with D.Conn.L.R. 7(a), the Plaintiffs have submitted a memorandum

of law in support of their Motion for Preliminary Injunction.

       WHEREFORE, the Plaintiffs pray that their Motion for Preliminary Injunction is

granted.



                                                         THE PLAINTIFFS
                                                         NATIONAL ASSOCIATION FOR
                                                         GUN RIGHTS, and TONI
                                                         THERESA SPERA FLANIGAN

                                                         /s/ Barry K. Arrington
                                                         Barry K. Arrington
                                                         4195 Wadsworth Blvd.
                                                         Wheat Ridge, CO 80033
                                                         (303) 205-7870
                                                         barry@arringtonpc.com
                                                         Pro Hac Vice

                                                         John J. Radshaw (ct19882)
                                                         65 Trumbull Street
                                                         2d Floor
                                                         New Haven, CT 06510
                                                         (203) 654-9695 Office
                                                         (203) 721-6182 Facsimile
                                                         jjr@jjr-esq.com




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                                  CERTIFICATION

       I hereby certify that on November 4, 2022, a copy of foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all appearing parties by
operation of the Court’s electronic filing. Parties may access this filing through the
Court’s system.

/s/ Barry K. Arrington
Barry K. Arrington




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